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     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                )
 8   UNITED STATES OF AMERICA,                  )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                       )
                                                )   STIPULATION AND ORDER TO
10         v.                                   )   CONTINUE MOTION HEARING
                                                )
11   JORGE VEGA-MACIAS,                         )   Date: 6/13/16
              Defendant.                        )   Time: 2:00 p.m.
12                                              )   Judge: Allison Claire
13                                              )

14
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Motion Hearing currently set for June 10, 2016 is continued to June 13, 2016 at 2:00 p.m.
16
     so that Pre-Trial Services may be present. Justin Lee, Assistant United States Attorney,
17
     and Thomas A. Johnson, attorney for Jorge Vega-Macias, agree to this continuation.
18
19
     IT IS SO STIPULATED.
20
21
     Dated: June 9, 2016                                    /s/ Thomas A. Johnson
22                                                          THOMAS A. JOHNSON
23
                                                            Attorney for Jorge Vega-Macias

24
                                                            PHILLIP A. TALBERT
25
                                                            Acting United States Attorney
26
     Dated: June 9, 2016                                    /s/ Thomas A. Johnson for
27
                                                            JUSTIN LEE
28                                                          Assistant U.S. Attorney


                                                                                                1
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 1                                    ORDER
 2
 3   IT IS SO ORDERED.
 4
     DATE: June 10, 2016
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